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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 HANNA SILBAUGH,                                  )
                              Plaintiff,          )
                         v.                       )   Civil Action No: 1:20-cv-252
                                                  )
 MARC NELSON, DAVID SMITH, ANTHONY                )   District Judge Susan Paradise Baxter
 ATTALLA, JOHN DOE 4, JOHN DOE 5,                 )
 DANIEL SPIZARNY, JOSEPH V. SCHEMBER              )
 AND THE CITY OF ERIE,                            )   Electronically Filed
                                                  )
                              Defendants.         )


                              PROPOSED ORDER OF COURT

        AND NOW, this ________________ day of September, 2020, upon consideration of

Defendants Motion for an Extension of Time to Respond to Plaintiff’s Complaint, the same is

hereby GRANTED.

        Defendants shall file an appropriate response to Plaintiff’s Complaint on or before

______________________________________________________________, 2020.


                                    BY THE COURT:



                                    ________________________________________
                                    District Judge Susan Paradise Baxter
LEGAL/132432099.v1
